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                                                       - 686 -
                             Nebraska Court of Appeals Advance Sheets
                                  28 Nebraska Appellate Reports
                               BERAN v. NEBRASKA ORTHO. &amp; SPORTS MEDICINE
                                            Cite as 28 Neb. App. 686



                       James Beran, appellant, v. Nebraska Orthopaedic
                              and Sports Medicine, P.C., appellee.
                                                   ___ N.W.2d ___

                                        Filed August 4, 2020.    No. A-19-783.

                 1. Evidence: Appeal and Error. Generally, the control of discovery is a
                    matter for judicial discretion, and decisions regarding discovery will be
                    upheld on appeal in the absence of an abuse of discretion.
                 2. Appeal and Error. Appellate review of a district court’s use of inherent
                    power is for an abuse of discretion.
                 3. Judgments: Words and Phrases. An abuse of discretion occurs when a
                    trial court’s decision is based upon reasons that are untenable or unrea-
                    sonable or if its action is clearly against justice or conscience, reason,
                    and evidence.
                 4. Courts. Nebraska courts, through their inherent judicial power, have
                    the authority to do all things necessary for the proper administration of
                    justice.
                 5. Trial: Courts. A trial court has broad discretion to make discovery and
                    evidentiary rulings conducive to the conduct of a fair and orderly trial.

                 Appeal from the District Court for Lancaster County: Kevin
               R. McManaman, Judge. Affirmed.
                  Greg Garland, of Garland MedMal Law, L.L.C., Jerry
               Fichter, of Fichter Law Office, and Kathy Pate Knickrehm for
               appellant.
                 William R. Settles, of Lamson, Dugan &amp; Murray, L.L.P., for
               appellee.
                 Moore, Chief Judge, and Riedmann and Arterburn,
               Judges.
                               - 687 -
        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
         BERAN v. NEBRASKA ORTHO. &amp; SPORTS MEDICINE
                      Cite as 28 Neb. App. 686
  Riedmann, Judge.
                        INTRODUCTION
   James Beran appeals the decision of the district court for
Lancaster County which excluded expert testimony on the
grounds that Beran failed to disclose the opinion to Nebraska
Orthopaedic and Sports Medicine, P.C. (Nebraska Orthopaedic),
prior to the witness’ trial deposition. We find the district court’s
decision was not an abuse of discretion and therefore affirm.
                         BACKGROUND
    Beran sustained an injury to his left shoulder in April 2015.
In May, Dr. Ronald Schwab, an orthopedic surgeon employed
by Nebraska Orthopaedic, performed rotator cuff repair surgery
on Beran’s shoulder. After the surgery, Beran developed com-
plications that he later claimed were caused by a postoperative
infection of the shoulder joint. Schwab performed a second
surgery on Beran’s shoulder in July, but Beran continued to
experience symptoms and pain. Schwab then referred Beran to
a different orthopedic surgeon, Dr. Kirk Hutton, who performed
a third surgery on Beran’s shoulder in February 2016.
    In April 2017, Beran sued Schwab and Nebraska Orthopaedic,
alleging that Schwab was negligent in his treatment of Beran
because he failed to timely diagnose and appropriately treat the
infection in Beran’s shoulder after the initial surgery. Schwab
was not timely served with process and was ultimately dis-
missed as a defendant, leaving Nebraska Orthopaedic as the
sole defendant at trial.
    On December 11, 2017, the district court entered a progres-
sion order. Therein, the court ordered the disclosure of expert
witnesses to be completed at least 90 days prior to the pretrial
conference scheduled for August 17, 2018, with trial scheduled
to begin on September 4. The order required the disclosure
of information regarding each expert witness and a complete
statement of the opinion to be rendered and the basis therefor;
it further stated, “Expert testimony will not be permitted at trial
unless it is contained in the disclosure.”
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
         BERAN v. NEBRASKA ORTHO. &amp; SPORTS MEDICINE
                      Cite as 28 Neb. App. 686
    The progression order was modified in June 2018 and modi-
fied again in August due to continuances of the trial date. The
progression order was modified a final time in February 2019,
and trial was set for July. Pursuant to this final progression
order, a pretrial conference was scheduled for June 21; thus,
expert witness disclosures were to be completed 90 days prior
to that date.
    Beran was deposed in February 2018. At that time, he tes-
tified that at his first appointment with Hutton in December
2015, Hutton told him that the infection that Schwab let go on
too long ruined the soft tissue in his shoulder.
    Nebraska Orthopaedic originally planned to depose Hutton
but changed its mind in April 2018 due to the expense. At that
time, Nebraska Orthopaedic was unwilling to waive Hutton’s
unavailability for trial; thus, in December 2018, Beran sent a
letter to Hutton, notifying him that his live testimony would
be required at trial. The letter informed Hutton that his testi-
mony would not involve any standard of care opinions, but
would be limited to his initial impressions and etiology of
Beran’s condition, his treatment of Beran, and Beran’s limita-
tions and future medical needs. Despite this, Beran attached
to the letter a photograph of his shoulder taken a few days
after his initial surgery and a report from Dr. Stephen Felts, an
infectious disease doctor. Nebraska Orthopaedic was unaware
of this letter.
    Although a bit unclear from the record, the parties later
agreed to take a trial deposition of Hutton, rather than require
his in-person testimony at trial, so in February 2019, Beran
deposed Hutton. Hutton explained that Beran was referred to
him in December 2015 for a second opinion on his shoulder
after he continued to have complications following two surger-
ies by Schwab. After reviewing Beran’s history and perform-
ing a physical examination, Hutton believed that Beran had a
recurrent rotator cuff tear with significant retraction and severe
muscle atrophy, and he thought there was the possibility of a
low-grade infection in Beran’s shoulder based on his history
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
         BERAN v. NEBRASKA ORTHO. &amp; SPORTS MEDICINE
                      Cite as 28 Neb. App. 686
of redness, inflammation, and drainage after the original sur-
gery. However, Schwab had previously obtained cultures from
Beran’s shoulder that were negative for infection. Hutton took
additional blood from Beran to determine if there was an ongo-
ing infection, but his bloodwork was negative for markers of
infection. Hutton explained that although he believed there
was the possibility of infection, he had no documentation that
showed that Beran’s shoulder was infected.
   Based on Beran’s history, Hutton’s examination, and the
bloodwork results, Hutton believed he could safely proceed
with surgery without concern that there was an ongoing active
infection. When he performed the surgery on Beran’s shoul-
der, he could not confirm whether there had been an infection
in the past. He admitted that it was possible that there was a
prior infection, but he was not able to confirm it based on what
he saw.
   Hutton stated that because he did not find an active infec-
tion when he operated on Beran’s shoulder, he could not say
with a degree of medical certainty whether Beran ever had an
infection in his shoulder. He acknowledged that he would be
concerned that there was an infection from the history of red-
ness and drainage, but he had no clinical proof that there was
one. He ultimately testified, “I guess knowing what was going
on, I would have an opinion that there was some type of low-
grade infection going on at that point.” Nebraska Orthopaedic
objected at that time on the ground of the testimony being an
undisclosed expert opinion and indicated an objection to the
testimony on the parties’ joint exhibit list filed as an attach-
ment to the joint pretrial conference order in June 2019. In an
order ruling on the objection in July, the district court sustained
the objection.
   Beran moved for reconsideration of the court’s decision,
and a hearing was held the morning before trial began. At the
hearing, Beran offered several exhibits into evidence, includ-
ing the December 2018 letter to Hutton in which he provided
Beran’s postoperative picture and Felts’ report. Beran argued
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
         BERAN v. NEBRASKA ORTHO. &amp; SPORTS MEDICINE
                      Cite as 28 Neb. App. 686
that the case is about whether there was an existing infection
in his shoulder joint or not and that Hutton was the only one
to see it. Beran argued that he needed the jury to hear that part
of Hutton’s testimony and that there was no way for him to
disclose this opinion to Nebraska Orthopaedic because Hutton
was not a retained expert witness, so Beran had no contact with
him and did not know what his opinion would be.
   Nebraska Orthopaedic asserted that it was previously
unaware of the December 2018 letter to Hutton. It submitted
that based on that additional information, Hutton’s comment
that “knowing what was going on” he would have an opinion,
evinces that Hutton’s opinion was not based on his treatment of
Beran; rather, it was based upon “what was going on” during
Schwab’s treatment of him. The district court agreed, noting
that Hutton was a treating doctor, but that his opinion did not
arise from his treatment.
   The court questioned Beran’s comment that he did not know
what Hutton’s opinion would be, asking him to confirm that it
was Hutton who initially told him that his shoulder problems
originated with an infection that resulted from Schwab’s care.
Based on Beran’s confirmation, the district court recognized
that it “was early on” that Beran knew Hutton at least sus-
pected that Beran had an infection in his shoulder after the
initial surgery. Ultimately, the court declined to reverse its pre-
vious decision to exclude Hutton’s opinion.
   Trial proceeded. Beran testified regarding his injury and the
progression of his treatment thereafter. He also presented the
testimony of Felts and an orthopedic surgeon from Missouri,
both of whom opined that Beran had an infection in his shoul-
der after the initial surgery and that Schwab breached the stan-
dard of care when he failed to diagnose and treat the infection.
Hutton’s deposition, as described above, was also played for
the jury at trial. The video was redacted to remove the opinion
testimony that the district court excluded.
   Nebraska Orthopaedic called Schwab, who rendered his
opinion that Beran never had an infection in his shoulder
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
         BERAN v. NEBRASKA ORTHO. &amp; SPORTS MEDICINE
                      Cite as 28 Neb. App. 686
joint; he said there may have been a small superficial infec-
tion on the skin, which responded very well to oral antibiotics,
but the cultures were negative and he was not able to identify
any bacteria present to demonstrate a deep infection in the
shoulder joint. Thus, in his opinion, neither of the re-tears of
Beran’s rotator cuff, preceding Beran’s second and third sur-
geries, was caused by infection.
   Another orthopedic surgeon from Omaha, Nebraska, testi-
fied similarly, explaining his opinion that Schwab’s postoper­
ative care of Beran met the standard of care. Like Schwab,
he testified that it was possible that Beran had a superficial
infection in the incision and the skin around it, but that it was
properly treated with antibiotics and resolved. He noted that
Schwab obtained deep cultures during the second surgery in
July 2015, which were negative for the presence of bacteria.
He opined that Beran never had an infection in his shoul-
der joint.
   Nebraska Orthopaedic also presented the deposition testi-
mony of a Nebraska physician specializing in infectious dis-
eases. The specialist opined that Schwab acted appropriately
in his treatment of Beran’s postoperative complaints. He said
with the benefit of hindsight and knowledge of the overall
progression of the case, the evidence would suggest that Beran
did not have a deep-seated infection of the shoulder joint. He
explained that a superficial infection can progress to a deeper
joint infection, which would then typically require additional
and more intensive treatment such as intravenous antibiotics.
If a patient with a deep joint infection does not get the neces-
sary treatment, the infection will generally progress resulting in
symptoms such as more inflammation and more joint destruc-
tion, as well as symptoms such as fever, chills, and potentially
sepsis, hypotension, and acidosis; however, Beran showed none
of those symptoms.
   After hearing all of the evidence, the jury found that Beran
had not met his burden of proof and entered a verdict in favor
of Nebraska Orthopaedic. Beran appeals.
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
         BERAN v. NEBRASKA ORTHO. &amp; SPORTS MEDICINE
                      Cite as 28 Neb. App. 686
                ASSIGNMENT OF ERROR
  Beran assigns that the district court abused its discretion in
excluding Hutton’s opinion testimony.
                   STANDARD OF REVIEW
   [1-3] Generally, the control of discovery is a matter for
judicial discretion, and decisions regarding discovery will be
upheld on appeal in the absence of an abuse of discretion.
Putnam v. Scherbring, 297 Neb. 868, 902 N.W.2d 140 (2017).
Similarly, appellate review of a district court’s use of inherent
power is for an abuse of discretion. Id. An abuse of discretion
occurs when a trial court’s decision is based upon reasons that
are untenable or unreasonable or if its action is clearly against
justice or conscience, reason, and evidence. Id.                           ANALYSIS
   Beran argues that the district court abused its discretion
in excluding the opinion testimony of Hutton that Beran had
an infection in his shoulder following his initial surgery. He
relies on the factors elicited in Norquay v. Union Pacific
Railroad, 225 Neb. 527, 407 N.W.2d 146 (1987), and on
In-Line Suspension v. Weinberg &amp; Weinberg, 12 Neb. App. 908,
687 N.W.2d 418 (2004), which applies the Norquay factors.
Nebraska Orthopaedic argues that Norquay does not apply, cit-
ing Putnam v. Scherbring, supra.   In Putnam v. Scherbring, supra, the Nebraska Supreme
Court recognized that its analysis in Norquay v. Union Pacific
Railroad, supra, was directed to a trial court’s authority to pre-
clude testimony as a discovery sanction and that in Norquay,
a party failed to comply with a request for discovery and
additionally failed to seasonally supplement its answer to an
interrogatory. In Norquay, there was no progression order and
the trial court did not find that the testimony in question was
untimely disclosed; therefore, the trial court’s authority to pre-
clude testimony was premised solely upon its power to issue a
discovery sanction under rule 37 of the Nebraska Court Rules
of Discovery, now codified as Neb. Ct. R. Disc. § 6-337. To
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
         BERAN v. NEBRASKA ORTHO. &amp; SPORTS MEDICINE
                      Cite as 28 Neb. App. 686
ensure a balanced approach to punish those whose conduct
warrants a § 6-337 sanction and to deter those who may be
inclined or tempted to frustrate the discovery process, the court
in Norquay outlined several factors a court should consider
before imposing a sanction.
   [4] The Supreme Court found that the facts in Putnam v.
Scherbring, supra, however, established that the trial court’s
exclusion of evidence was not a discovery sanction like in
Norquay; rather, it was the court’s enforcement of its previous
orders which had extended discovery deadlines and continued
trial dates. The Supreme Court observed that
      the parties stipulated to a proposed progression order
      with a discovery deadline and the district court adopted
      and entered the progression order. The court was initially
      flexible and amended the order and continued trial three
      times to accommodate Putnam. But, it ultimately elected
      to enforce its progression order when, shortly before
      trial, Putnam attempted to disclose new expert opinions
      and evidence which would undoubtedly cause further
      delay. This was fundamentally different from imposing
      a sanction for a party’s attempt to abuse the discov-
      ery process.
Putnam v. Scherbring, 297 Neb. at 877, 902 N.W.2d at 146.
The Supreme Court reiterated that Nebraska courts, through
their inherent judicial power, have the authority to do all things
necessary for the proper administration of justice and found it
apparent that the trial court relied on this authority and not its
authority to issue a discovery sanction. Putnam v. Scherbring,
297 Neb. 868, 902 N.W.2d 140 (2017). Therefore, the court
concluded that the correct analytical framework did not require
the trial court to consider the Norquay factors. Putnam v.
Scherbring, supra.   Likewise, in the present case, the district court entered an
initial progression order in December 2017, requiring the par-
ties to disclose information regarding their expert witnesses at
least 90 days prior to August 17, 2018. The order specifically
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
         BERAN v. NEBRASKA ORTHO. &amp; SPORTS MEDICINE
                      Cite as 28 Neb. App. 686
informed the parties that expert testimony would not be permit-
ted at trial if it was not disclosed to the opposing party. At that
time, trial was scheduled to begin in September. The progres-
sion order was modified several times, pursuant to the court’s
granting several continuances of the trial date.
   Hutton’s trial deposition occurred on February 20, 2019. At
that time, the operative progression order mandated that expert
witness disclosures occur 90 days prior to the pretrial confer-
ence scheduled for February 22. Thus, Nebraska Orthopaedic
objected to the opinion testimony Hutton offered regarding the
existence of an infection in Beran’s shoulder after the initial
surgery on the ground that it had not been disclosed, and the
objection was later sustained by the court as an undisclosed
opinion. Nebraska Orthopaedic does not contend that Beran
failed to comply with a discovery request or failed to season-
ally supplement interrogatory answers; rather, it complains that
Hutton’s opinion was not disclosed until his deposition was
being taken for trial purposes. Therefore, similar to Putnam
v. Scherbring, supra, we find that the district court’s decision
to exclude Hutton’s opinion testimony was not a discovery
sanction, but instead, was the court’s enforcement of its pro-
gression orders which imposed a deadline by which the par-
ties were required to disclose their expert witnesses and the
contents of their testimony. Accordingly, the Norquay factors
are not applicable here. (We note that on February 25, which
was 5 days after Hutton’s deposition, the district court entered
an amended progression order but this does not affect our
analysis because the deposition was taken for the use at trial;
hence, Hutton would not be available for additional examina-
tion at trial.)
   [5] Based upon its conclusion that the trial court was not
required to consider the Norquay factors, the Supreme Court
in Putnam v. Scherbring, supra, reviewed the trial court’s
exercise of inherent power for an abuse of discretion. The
Supreme Court emphasized that a court abuses its discretion
when its decision is based upon reasons that are untenable
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
         BERAN v. NEBRASKA ORTHO. &amp; SPORTS MEDICINE
                      Cite as 28 Neb. App. 686
or unreasonable or if its action is clearly against justice or
conscience, reason, or evidence. Id. This is a fairly deferential
standard. Id. Moreover, a trial court has broad discretion to
make discovery and evidentiary rulings conducive to the con-
duct of a fair and orderly trial. Id.
   In finding no abuse of discretion in that case, the Supreme
Court in Putnam v. Scherbring, 297 Neb. 868, 902 N.W.2d 140(2017), emphasized that there was no evidence that the trial
court based its decision to exclude untimely evidence for any
reasons that were untenable or unreasonable. It noted that in
fact, the record reflected that the court carefully considered its
decision and sought to achieve a balanced outcome for both
parties. For those reasons, the Supreme Court could not find
that the court’s action was clearly against justice or conscience,
reason, and evidence and quoted the trial judge’s comment that
“‘proposed scheduling orders have to mean something.’” Id. at
878, 902 N.W.2d at 147.
   Similarly, here, the record and the district court’s comments
establish that its decision was not untenable or unreasonable.
The initial progression order was extended several times as
the trial date was repeatedly continued. The initial progres-
sion order warned the parties that failure to disclose informa-
tion about an expert witness would result in the exclusion of
that witness’ testimony. And given the number of times the
progression order was amended, Beran had ample time to
disclose Hutton’s opinion. Hutton’s request for “thousands of
dollars to do anything” does not excuse Beran from making the
required disclosures.
   The fact that Hutton, one of Beran’s treating physicians,
would testify as a witness was not a surprise to either party.
In fact, Nebraska Orthopaedic included Hutton as a defense
witness on its mandatory disclosures, indicating that “Hutton
would possess information regarding his treatment, surgical
care and prognosis for [Beran] subsequent to his treatment
and surgeries at [Nebraska Orthopaedic].” However, Nebraska
Orthopaedic had no notice prior to Hutton’s trial deposition
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
         BERAN v. NEBRASKA ORTHO. &amp; SPORTS MEDICINE
                      Cite as 28 Neb. App. 686
that Beran was going to ask him for an expert opinion based
on facts beyond his personal treatment of Beran.
   Beran argues that he had no way of knowing what Hutton’s
opinion would be until Hutton’s deposition. However, Beran
testified at his deposition in February 2018 that it was Hutton
who told him an infection was responsible for ruining the soft
tissue in his shoulder. And the additional information Beran
attached to the December 2018 letter to Hutton indicates that he
anticipated eliciting information from him beyond that which
Hutton observed through his treatment of Beran.
   At the hearing on Beran’s motion to reconsider the exclu-
sion of Hutton’s opinion, Beran admitted that it was Hutton
who initially told him that his shoulder problems originated
with an infection that happened from Schwab’s care. Based on
this, the district court recognized that it “was early on” that
Beran knew Hutton at least suspected that Beran had an infec-
tion in his shoulder after the initial surgery. Thus, given that
the progression order was extended several times, Beran had
knowledge early on of Hutton’s opinion regarding an infec-
tion, and the evidence that Beran contemplated asking Hutton
for an opinion based on facts beyond his personal knowledge,
we conclude that the district court did not abuse its discretion
in enforcing its progression order and excluding the opinion
testimony of Hutton.
                       CONCLUSION
   For the foregoing reasons, we affirm the order of the dis-
trict court.
                                                 Affirmed.
